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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CONRAD SMITH, et al.,

                        Plaintiffs,

 v.                                                Case No. 1:21-cv-2265-APM

 DONALD J. TRUMP, et al.,

                        Defendants.



 RECONSTRUCTION ERA SCHOLARS’ MOTION FOR LEAVE TO FILE AS AMICI
 CURIAE IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO MOTIONS TO DISMISS


       With decades of experience studying Reconstruction Era civil rights statutes, certain

historical and legal scholars of the Reconstruction Era (“Reconstruction Era Scholars”) move for

leave to file a brief as amici curiae under Local Civil Rule 7(o) in support of Plaintiffs Conrad

Smith, et al., as their intimate knowledge of the history and congressional intent of these statutes

will assist the Court in deciding certain pending motions to dismiss, as defined below. The

Plaintiffs consent to the filing of this amicus brief. Defendants Joseph R. Biggs, Roger J. Stone,

Jr., Brandon J. Straka, and Enrique Tarrio do not oppose the filing. Defendant Zachary Rehl

affirmatively takes no position. The remaining Defendants have not indicated their positions.

       “An amicus brief should normally be allowed . . . when the amicus has unique

information or perspective that can help the court beyond the help that the lawyers for the parties

are able to provide.” Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008)

(quoting Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1064 (7th Cir. 1997)

(Posner, C.J. in chambers)). “Courts in this district have granted leave where a movant sought to
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provide information regarding a significant, unclear legal issue, and denied leave where a

movant sought to present arguments and insights that were not relevant to the stage of the

litigation.” Hopi Tribe v. Trump, No. 17-cv-2590 (TSC), 2019 WL 2494161, at *3 (D.D.C. Mar.

20, 2019) (citations omitted) (granting four motions for leave to file amicus briefs at the motion

to dismiss stage “because their proposed submissions speak to the limited issue”). In that vein,

this Court has allowed amicus briefs at the motion to dismiss stage.1 And another Court in this

district has previously granted leave for these specific Reconstruction Era Scholars to file an

amicus brief at the motion to dismiss stage in other litigation involving 42 U.S.C. § 1985.2

       The Reconstruction Era Scholars will assist the Court by offering a unique perspective on

the historical context of sections 2 and 6 of the Civil Rights Act of 1871, Pub. L. No. 42-22, 17

Stat. 13, currently codified at 42 U.S.C. §§ 1985(1) and 1986, respectively, and their application

to Counts I and II of the Plaintiffs’ Amended Complaint. The Reconstruction Era Scholars

specialize in the post-Civil War and Reconstruction Eras, the history of the civil rights legislation

at issue in this case, the applications of relevant civil rights statutes over time, and the broader

context that shaped those statutes. As a result, they have significant and specialized insight into

the historical and legislative context and interpretation of Sections 1985 and 1986 that the parties

cannot provide.

       The amici presenting the brief include:




1
 See Minute Order granting Motion for Leave to File Amici Curiae Brief in Support of Plaintiff,
Swalwell v. Trump, Case No. 1:21-CV-00586 (Dkt. No. 29) (D.D.C. July 15, 2021).
2
 See Minute Order granting Motion for Leave to File Amici Curiae Brief in Support of Concerned
Legal Academics and Historians, Black Lives Matter D.C. v. Trump, Case No. 1:20-CV-01469-
DLF (Dkt. No. 109) (D.D.C. Nov. 30, 2020) (Friedrich, J.).


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1. Gregory P. Downs. Professor Downs is a Professor of History at the University of
   California, Davis. He specializes in the political and cultural history of the United States
   in the nineteenth and early-twentieth centuries, and particularly investigates the
   transformative impact of the Civil War, the end of slavery, and the role of military force in
   establishing new meanings of freedom. He is an elected member of the Society of
   American Historians; the author of three books on the post-Civil War era, including After
   Appomattox: Military Occupation and the Ends of War (Harvard Univ. Press, 2015); and
   is co-editor with Professor Masur of The World the Civil War Made (Univ. of North
   Carolina Press, 2015) and The Journal of the Civil War Era (Univ. of North Carolina
   Press). He and Professor Masur were involved in the first-ever efforts by the National Park
   Service (NPS) to formally address Reconstruction, which included co-authoring the NPS’s
   National Historic Landmarks Theme Study on the Era of Reconstruction and helping to
   edit the NPS handbook for Reconstruction.

2. Laura F. Edwards. Professor Edwards is the Class of 1921 Bicentennial Professor in the
   History of American Law and Liberty at Princeton University. Her specialty is law and
   culture in the nineteenth-century United States, with a focus on questions on slavery, race,
   and gender and institutional changes in the federal system, particularly in the Civil War
   Era. She is the author of four books, including A Nation of Rights: A Legal History of the
   Civil War and Reconstruction (Cambridge Univ. Press, 2015) and The People and Their
   Peace: Legal Culture and the Transformation of Inequality in the Post-Revolutionary
   South (Univ. of North Carolina Press, 2009).

3. Kate Masur. Professor Masur is the Board of Visitors Professor of History at
   Northwestern University. She specializes in the United States in the nineteenth century,
   with a primary focus on how Americans grappled with questions of race and equality after
   the abolition of slavery in both the North and South. She is the author of Until Justice Be
   Done: America’s First Civil Rights Movement, from the Revolution to Reconstruction (W.
   W. Norton, 2021), as well another book on Reconstruction, and is co-editor with Professor
   Downs of The World the Civil War Made (Univ. of North Carolina Press, 2015) and The
   Journal of the Civil War Era (Univ. of North Carolina Press). She and Professor Downs
   were involved in the first-ever efforts by the National Park Service (NPS) to formally
   address Reconstruction, which included co-authoring the NPS’s National Historic
   Landmarks Theme Study on the Era of Reconstruction and helping to edit the NPS
   handbook for Reconstruction.

4. George A. Rutherglen. Professor Rutherglen is the Distinguished Professor of Law and
   the Earle K. Shaw Professor of Employment Law at the University of Virginia School of
   Law. He is the author of Civil Rights in the Shadow of Slavery: The Constitution, Common
   Law, and the Civil Rights Act of 1866 (Oxford Univ. Press, 2013) and a co-author of the
   casebook, Civil Rights Actions: Enforcing the Constitution (Foundation Press, 4th ed.
   2021).




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       The unique context and insight that the Reconstruction Era Scholars provide are not

adequately represented by any of the parties, and will greatly assist the Court in adjudicating

Defendants motions to dismiss. The proposed brief illuminates the historical origins and

extensive legislative history of §§ 1985 and 1986, including the original public meaning,

legislative intent, and relevant historical context of key terms such as “office, trust, or place of

confidence,” and how these provisions should be implemented and applied. The brief

additionally provides historical perspective into the events and case law that have shaped the

development of these laws, and the practical implications of a ruling granting Defendants’

motions to dismiss the Plaintiffs’ claims under these provisions.

       The Defendants’ arguments that Plaintiffs’ causes of actions should be dismissed for

failure to state a claim and the unavailability of the requested relief directly place at issue the

legislative intent and meaning of Sections 1985 and 1986. The Reconstruction Era Scholars are

best positioned to provide this Court with relevant insight and context given their careers

studying the historical context, legal development, and applicability of these statutory provisions.

As such, the Reconstruction Era Scholars offer this Court perspective that the parties could not.

       The proposed amicus brief is attached as Exhibit A. The submission of this brief is

consistent with the briefing schedule in this matter and will not result in any delay or prejudice

for the parties. The Reconstruction Era Scholars wish to ensure that this Court has the benefit of

their unique insight in ruling on Defendants’ motions to dismiss, and respectfully request that the

Court grant them leave to file the attached Brief of Amici Curiae Reconstruction Era Scholars in

Support of Plaintiffs’ Opposition to Defendants’ Motions to Dismiss. A proposed Order is

attached as Exhibit B for the Court’s convenience.




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Dated: January 24, 2022              Respectfully submitted,

                                     /s/ Eric L. Klein
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2022, the RECONSTRUCTION ERA SCHOLARS’

MOTION FOR LEAVE TO FILE AS AMICI CURIAE IN SUPPORT OF PLAINTIFFS’

OPPOSITION TO MOTIONS TO DISMISS was electronically filed with the Clerk of the Court

and served upon all counsel of record through the Court’s ECF filing system.



                                               /s/ Eric L. Klein
                                               Eric L. Klein (DC Bar No. 993268)




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